
Solution Bridge, Inc., as Assignee of Guzman, Ramon, Appellant, 
againstState Farm Mutual Automobile Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
De Martini &amp; Yi, LLP (Bryan Visnius of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered April 15, 2016. The order, insofar as appealed from as limited by the brief, granted the branch of defendant's motion seeking summary judgment dismissing the first cause of action.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branch of defendant's motion seeking summary judgment dismissing the first cause of action is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals, as limited by its brief, from so much of an order of the Civil Court as granted the branch of defendant's motion seeking summary judgment dismissing the first cause of action on the ground that plaintiff had failed to provide requested verification.
Plaintiff correctly argues that the affidavit it submitted in opposition to defendant's motion was sufficient to give rise to a presumption that the requested verification had been mailed to, and received by, defendant (see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co., 50 AD3d 1123 [2008]), and thus that there is a triable issue of fact as to whether the verification had been provided.
Accordingly, the order, insofar as appealed from, is reversed and the branch of defendant's motion seeking summary judgment dismissing the first cause of action is denied.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 10, 2019










